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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                                    Case No.: 8:24-cr-21-WFJ-CPT

 ALEXANDER LIGHTNER


                              ACCEPTANCE OF PLEA OF GUILTY
                               AND ADJUDICATION OF GUILT

         The defendant, Alexander Lightner, entered a plea of guilty to Count Two of the Indictment before

 the undersigned on March 10, 2025.

         ACCORDINGLY, IT IS ORDERED AND ADJUDGED:

         1.      Defendant, Alexander Lightner, has entered a plea of guilty to Count Two of the Indictment

                 knowingly, intelligently, and voluntarily. Such plea is accepted, and Defendant is

                 adjudicated guilty of Count Two of the Indictment.

         2.      That sentencing be scheduled for June 11, 2025, at 12:30 PM. Counsel are reminded

                 of the requirement to contact the Courtroom Deputy if this hearing is anticipated to

                 take longer than thirty (30) minutes.

         DONE and ORDERED in Tampa, Florida 11th day of March, 2025.




 Copies to:      Counsel of Record
                 U.S. Pretrial Services
                 U.S. Probation Office
                 U.S. Marshal Service
